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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------- x
CYTEC INDUSTRIES INC.,            :
                                  :
                   Plaintiff,     :
             v.                   :
                                  : No. 14 Civ. 1561 (PKC)
ALLNEX (LUXEMBOURG) & CY          :
S.C.A.,                           :
                                  :
                   Defendant.     :
--------------------------------- x

                         DECLARATION OF JOSHUA S. LEVY

               I, Joshua S. Levy, hereby declare under penalty of perjury that the following is

true and correct:

               1.     I am associated with Sullivan & Cromwell LLP (“S&C”), counsel for

Cytec Industries Inc. (“Cytec”) in the above-captioned action. I am duly licensed to practice

law in the State of New York and am admitted to practice in the Southern District of New

York.

               2.     I submit this declaration in support of Cytec’s Reply Brief in Support

of Its Motion for Attorneys’ Fees and Litigation Expenses, dated August 10, 2017.

               3.     On August 4, 2017, James Shih of S&C contacted Timothy Harkness

of Freshfields Bruckhaus Deringer US LLP (“Freshfields”) by e-mail to request a complete

copy of the Valeo 2017 Attorney Hourly Rate Report (“Valeo Report”).

               4.     On August 8, 2017, Elizabeth Skeen of Freshfields called Mr. Shih and

stated that Freshfields cannot provide S&C with the Valeo Report under the conditions of

Freshfields’s user license. Ms. Skeen noted that S&C could purchase its own license.

               5.     A Single User License for Large Law and Corporate for the Valeo

Attorney Hourly Rates Database costs $22,995.00. See https://valeopartners.com/products/
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valeo-attorney-hourly-rates-database-single-user-license-large-law-and-corporate (accessed

on August 10, 2017).

              6.       Based on the time records and bills submitted in this matter, for the

period March 2014 to December 2015, attorneys Joseph Neuhaus of S&C, Gabrielle Gould of

Freshfields, and Timothy Harkness of Freshfields recorded the hours worked on this matter

shown below, which resulted in fees billed as follows:

                    Joseph Neuhaus     Gabrielle Gould                  Timothy Harkness
                  Hours      Amount Hours       Amount*                Hours       Amount
      March 2014    0.00           $0 36.50   $30,249.38                14.40     $12,546*
       April 2014   0.00           $0 44.20   $36,630.75                 0.00            $0
       May 2014     1.75    $2,511.25 10.30     $8,536.13                0.00            $0
       June 2014    6.50    $9,327.50 21.50   $17,818.13                 0.00            $0
        July 2014  11.25   $16,143.75 20.80   $17,238.00                 0.00            $0
     August 2014    7.50   $10,762.50 10.30     $8,536.13                0.00            $0
  September 2014   15.75   $22,601.25 29.40   $24,365.25                 0.00            $0
    October 2014   15.00   $21,525.00  6.70     $5,552.63                0.00            $0
  November 2014     0.00           $0  6.30     $5,221.13                0.00            $0
  December 2014     0.25      $358.75  0.00         $0.00                0.00            $0
    January 2015    0.75    $1,162.50  1.70     $1,408.88                0.00            $0
   February 2015    0.25      $387.50  1.70     $1,408.88                0.00            $0
      March 2015    0.00           $0  0.30       $248.63                0.00            $0
       April 2015   0.00           $0  0.00            $0                7.80   $6,795.75*
       May 2015    15.25   $23,637.50  0.00            $0               17.60 $15,334.00*
       June 2015    1.25    $1,937.50  0.00            $0               37.70   $40,150.50
        July 2015   6.75   $10,462.50  0.00            $0                5.00    $5,325.00
     August 2015    4.75    $7,362.50  0.00            $0                1.70    $1,810.50
  September 2015    3.50    $5,425.00  0.00            $0                3.10      $3,301.5
    October 2015    9.50   $14,725.00  0.00            $0                7.60    $8,094.00
  November 2015    10.50   $16,275.00  0.00            $0                7.00    $7,455.00
  December 2015     2.50    $3,875.00  0.00            $0                9.40   $10,011.00
            Total 113.00 $168,480.00 189.70 $157,213.88                111.30 $110,823.25

    * These amounts reflect a 15% fee discount provided by Freshfields during the
    corresponding months.

              7.       In Allnex (Luxembourg) & Cy S.C.A.’s (“Allnex”) Memorandum of

Law in Opposition to Plaintiff Cytec Industries Inc.’s Motion for Attorneys’ Fees and

Litigation Expenses (“Opposition”; ECF No. 150), Allnex proposes a series of reductions in




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  the fees billed and paid for by Cytec that translate into the following amounts for the period

  June 27, 2014 to March 9, 2016:

                                                                                Percent Discounted
                                                                   Balance       from Full Invoices
                                           Full Invoices      $2,791,888.75                  0.00%
 Cytec’s Reduction for Non-Environmental Claims (20%)         $2,233,511.00                 20.00%
                       Allnex’s Line-by-Line Reductions       $2,176,541.25                 22.04%
Allnex’s Reduction for Non-Environmental Claims (75%)           $544,135.31                 80.51%
             Allnex’s Reduction for Hourly Rates (30%)          $380,894.72                 86.36%
            Allnex’s Reduction for Other Reasons (50%)          $190,447.36                 93.18%

                 8.      The reduced fee amount proposed by Allnex for all other periods

  (March 28, 2014 to June 17, 2014, and March 10, 2016 to April 27, 2017) is as follows:

                                                                                Percent Discounted
                                                                   Balance       from Full Invoices
                                           Full Invoices      $6,067,403.75                  0.00%
Cytec’s Discount for Non-Environmental Claims (0–20%)         $5,819,890.38                  4.08%
                       Allnex's Line-by-Line Reductions       $5,708,288.51                  5.92%
               Allnex's Discount for Hourly Rates (30%)       $3,995,801.95                 34.14%
             Allnex’s Discount for Other Reasons (50%)        $1,997,900.98                 67.07%

                 9.      Attached as Exhibit A hereto is a true and correct copy of an article

  titled “Legal Fees Cross New Mark: $1,500 an Hour” that appeared in the Wall Street

  Journal on February 9, 2016. See https://www.wsj.com/articles/legal-fees-reach-new-

  pinnacle-1-500-an-hour-1454960708 (accessed on August 10, 2017).

                 10.     Attached as Exhibit B hereto is a true and correct copy of an article

  titled “What Do the Highest-Paid Lawyers Make An Hour?” that appeared in Law360 on

  May 11, 2016. See https://www.law360.com/articles/794929 (accessed on August 10, 2017).

                 11.     Attached as Exhibit C hereto is a true and correct copy of an article

  titled “Billing $2K an Hour? Study Says Clients Will Pay If Lawyers Deliver” that appeared

  in the American Lawyer Daily on May 12, 2016. See http://www.americanlawyer.com/id=

  1202757535252/Billing-2K-an-Hour-Study-Says-Clients-Will-Pay-If-Lawyers-

  Deliver?slreturn=20170707164233 (accessed on August 10, 2017).


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               12.     Attached as Exhibit D hereto is a true and correct copy of an excerpt of

the transcript of the deposition of William Avrin dated April 15, 2016.

               13.     Attached as Exhibit E hereto is a true and correct copy of an excerpt of

the transcript of the deposition of John Barkett dated July 12, 2016.

               14.     Attached as Exhibit F hereto is a true and correct copy of an excerpt of

the transcript of the deposition of Melissa Sawyer dated April 26, 2016.



Dated: New York, New York
       August 10, 2017


                                                /s/ Joshua S. Levy
                                      _______________________________________
                                                  Joshua S. Levy




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